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 From:             Lowell, Abbe
 To:               Keller, John (CRM)
 Cc:               mccorriston@
 Subject:          Status
 Date:             Wednesday, August 26, 2020 3:35:00 PM


 John

 With all these issues being raised by you yesterday late in the day and especially with your first
 language for the FARA letter and now the taint team issue which I will not be able to speak with
 them until the end of the day and with the time difference and Mac being in court, I will not be able
 to talk with him and Ms. Davis until late eastern time.   Then we can figure out the status of all this
 tomorrow. Depending on all of that, we might have to delay further depending on whether Mac
 and I can still continue.

 Abbe




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